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                              UNITED STATES BANKRUPTCY COURT
                                SOUTHERN DISTRICT OF TEXAS
                                    GALVESTON DIVISION

IN RE:                                             §    CASE NO. 24-80333
HENRY WEST NM COAST, LLC                           §
                                                   §    CHAPTER 11
DEBTOR(S)                                          §
                                                   §

                                           MOTION TO
                             LIFT STAY IN REM REGARDING PROPERTY
                               947 BARLEY ST., GILCHRIST, TEXAS 77617
                                   (With Variance for Cause Below)

THIS IS A MOTION FOR RELIEF FROM THE AUTOMATIC STAY. IF YOU OBJECT TO THE GRANTING OF RELIEF FROM THE
AUTOMATIC STAY, YOU SHOULD CONTACT THE MOVANT IMMEDIATELY TO TRY TO REACH AN AGREEMENT. IF YOU CANNOT
REACH AN AGREEMENT, YOU MUST FILE A WRITTEN RESPONSE AND SEND A COPY TO MOVANT NO LATER THAN 7
DAYS BEFORE THE DATE OF THE HEARING AND YOU MUST ATTEND THE HEARING.


THE COPY SENT TO THE MOVANT MUST BE DELIVERED BY HAND OR ELECTRONIC DELIVERY IF IT IS SENT LESS THAN FIVE
BUSINESS DAYS PRIOR TO THE HEARING. UNLESS THE PARTIES AGREE OTHERWISE, THE HEARING MAY BE AN
EVIDENTIARY HEARING AND THE COURT MAY GRANT OR DENY RELIEF FROM THE STAY BASED ON THE EVIDENCE
PRESENTED AT THIS HEARING. IF A TIMELY OBJECTION IS FILED, THE COURT WILL CONDUCT A HEARING ON THIS MOTION
ON DECEMBER 5, 2024 AT 9:00 AM BEFORE THE HONORABLE JUDGE ALFREDO R PEREZ, COUTROOM 400, 515 RUSK,
HOUSTON, TX 77002.




                                             SUMMARY

          This instant bankruptcy filing comes just hours after Debtor was denied a
          Temporary Restraining Order in a state court complaint in which Debtor and its
          managing director Vinh Truong knowingly, intentionally, and fraudulently
          misrepresented facts in attempt to wrongfully acquire a temporary restraining order.

          By its own admission in a state court Complaint filed October 31, 2024, the Plaintiff
          purportedly “purchased” this Property October 30, 2024, just one day before the
          state court Complaint was filed, and claimed it had no notice of the foreclosure.
          However, Plaintiff Henry West NM Coast, LLC is solely managed and directed by
          Vinh Truong, the same individual who was the manager and director of the
          prior owner, Nap Resorts, LLC, who not only received notices, but
          acknowledged them in email communications as reviewed below.

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         This new Debtor entity was not even entitled to notice of foreclosure anyway
         because Plaintiff was not a party to the security instrument. See Robinson v. Wells
         Fargo Bank, N.A., 2022 U.S. App. LEXIS 14148 (5th Cir.2022) citing Garza,
         632F.App’x at 224 (concluding a non-debtor was not entitled to foreclosure notice).

         Having lost its request for a temporary restraining order November 4, 2024, Debtor
         then filed the instant case to use the automatic stay to stop foreclosure in bad faith.
         Debtor’s schedules do not appear correct. It has no ability to reorganize. The
         amount owed is $3. million and recent interior appraisal shows value of only $1.2
         million (Property suffered storm damage that has not been repaired). And the
         transfer of the property just one week ago appears to have been a bad faith scheme
         as contemplated by 11 U.S.C. § 362(d)(4).

         Cause exists to terminate the automatic stay IN REM pursuant to 11 U.S.C. §
         362(d)(4) for cause. Movant prays the Court i) terminate the automatic stay IN
         REM for cause, ii) waive the 14 day stay of order under Rule 4001(a)(3), and iii)
         and grant such further and other relief as the Court deems just.

                            CERTIFICATE OF CONFERENCE

I hereby certify that on November 4, 2024, undersigned counsel received notice of this
bankruptcy filing from Debtor’s counsel at 4:20 PM. Undersigned counsel emailed counsel
for the Debtor at 4:23 PM in regards to this Motion and requested relief. Debtor’s counsel
responded at 4:30 PM that Debtor is opposed.

    1.       This Motion requests an Order from the Bankruptcy Court authorizing the person filing
             this Motion to foreclose on or to repossess the property that is identified in paragraph
             3.
    2.       Movant: Western Commerce Bank
    3.       Movant, directly or as agent for the holder, holds a security interest in 947 Barkley
             St., Gilchrist, Texas 77617.




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         (“Property”).
    4.       Movant has reviewed the schedules filed in this case. The property described in
             paragraph 3 is claimed as non-exempt by the debtor. Movant does not contest the
             claimed exemption.
    5.       Type of collateral (e.g., Home, Manufactured Home, Car, Truck, Motorcycle): Hotel.
    6.       Debtor’s scheduled value of property: $4,794,828.00, DK# 1-3, p. 9.
    7.       Movant’s estimated value of property: $1,200,000.00 by appraisal October 21, 2024,
             Ex. G.
    8.       Total amount owed to Movant: $3,381,739.38 through September 20, 2024 (higher
             now).
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    9.       Estimated equity (paragraph 7 minus paragraph 8): ($2,181,739.00)
    10.      Total pre and post-petition arrearages: Before acceleration arrears were $242,087.70.
             Now total debt claim $3,381,739.38 through September 20, 2024.
    11.      Total post-petition arrearages: n/a
    12.      Amount of unpaid, past due property taxes, if applicable: n/a
    13.      Expiration date on insurance policy, if applicable: n/a
    14.      __X___ Movant seeks relief based on the Debtor(s) failure to make payments.
             Debtor(s)’ payment history is attached as Exhibit “A.” Movant represents that the
             attached payment history is a current payment history reflecting all payments,
             advances, charges and credits from the beginning of the loan. Movant further represents
             that the payment history is self-explanatory or can be interpreted by application of
             coding information that is also attached. Movant acknowledges that the Court may
             prohibit the use of parol evidence to interpret a payment history that does not satisfy
             these representations.
                                              VARIANCE
                              EXHIBITS REFERENCED HEREIN

          A – June 17, 2021 Note.

          B – June 17, 2021 Deed of Trust.

          C – September 20, 2024 Notice of Default and Intent to Accelerate

          D – Returned Certified Mailings for Notice of Default and Intent to Accelerate

          E – October 14, 2024 Notice of Acceleration and Enclosing Notice of Substitute
          Trustee’s Sale

          F – Certified Mailings for Notice of Acceleration and Enclosing Notice of
          Substitute Trustee’s Sale

          G – Appraisal effective October 21, 2024 of $1.2 million

          H – State Court Complaint by Debtor October 31, 2024

          I – Payoff September 20, 2024




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                                              REVIEW

         1.       On Jun 17, 2021, Nap Resorts, LLC (“Nap”) financed $3,402,500.00 with Western.

Ex. A – Note.

         2.       Western was secured by a Deed of Trust granting Western a secured interest in real

property 947 Barkley St., Gilchrest, Texas 77617, more particularly described below: Ex. B –

DOT.




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         3.       The Property in question is a small hotel beachfront in Gilchrest, Texas, just

Northeast of Galveston. (Pic below).




         4.       The Deed of Trust states notices are effective when deposited into the mail to the

property address. Ex. A, p. 7.




         5.       Nap is solely managed and directed by Vinh Truong, the managing member of the

instant Plaintiff Henry West NM Coast, LLC, a New Mexico LLC.




         6.       Nap Defaulted on payments.


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         7.       On September 20, 2024, Nap was provided a Notice of Default and Intent to

Accelerate by first class and certified mail. Ex. C – Sept 2024 NOD. The Notice provided that

at that time the arrears were $256,959.17. Id.

         8.       The certified mailings were returned to sender. Ex. D – NOD Returns. However,

they were effective when deposited into the mail pursuant to the terms of the Deed of Trust. Ex.

A.

         9.       On October 14, 2024, Nap was provided a Notice of Acceleration and Enclosing

Notice of Substitute Trustee’s Sale by first class and certified mail. Ex. E – NOA/Sale, Ex. F –

Certified Mailing.

         10.      The USPS reflects these notices were properly and timely mailed. Ex. E –

Certified mailings. Delivery was attempted and rejected.




         11.      However, there is no doubt Vinh Truong and Nap were aware of the notices and

foreclosure.     For instance, on October 17, 2024, Mr. Truong emailed from email address

borasurfclub@gmail.com to a representative for Western and included communication to the law

firm of Hughes Watters & Askanse, which had sent out the notices, and stated in part “Thank you

for your message regarding the loan balance and acceleration.”
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           12.    On October 24, 2024, Mr. Truong requested and received an updated payoff quote

through November 2, 2024. In said email, he further advised that Nap “will withhold the

forthcoming $100k supplement check. Instead, we plan to use these funds to file for bankruptcy,

which will initiate prolonged litigation, potentially locking the property for the next 5 years.”




           13.    Nap was in significant default of its loan payments. Its income was insufficient to

cover its costs which it acknowledged by emails October 2, 2024. In fact, the property suffered

storm damage and Nap wanted to apply insurance towards the debt instead of making appropriate

repairs.




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         14.      Mr. Truong’s emails clearly show Nap knew about the default, acceleration, and

sale. It expressly stated it was withholding funds in response to failure to receive a loan

modification and indicated it would instead use those funds to pay for bankruptcy counsel in

response to the acceleration.

         15.      Instead, on October 30, 2024 Mr. Truong, as managing director of Nap, deeded the

Property over to Plaintiff Henry West NM Coast, LLC.

         16.      On October 31, 2024, Henry West then filed a state court complaint in which it

argued it lacked any notice of foreclosure, stating, inter alia, “Oddly, Plaintiff started receiving an

overwhelming volume of text messages and phone calls informing them that their Property is

posted for foreclosure” and that Plaintiff was “alarmed” and had no notice of such foreclosure.

Ex. H.



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         17.      Yet Plaintiff also acknowledges in Mr. Truong’s affidavit Mr. Truong is the

“Managing Member of Henry West NM Coast, LLC”. Complaint, p. 9.

         18.      Debtor’s prior claims in the state court proceeding that it had no notice was entirely

false. Mr. Truong not only received notice, he emailed in acknowledgment of it.

         19.      Further, as a legal matter, it doesn’t matter. Henry West NM is not a party to the

security instrument and therefore under 5th Circuit law was not entitled to notice of the foreclosure

regardless, and certainly not after its managing director deeded the property to it just days before

the scheduled foreclosure. It further appears the “purchase price” was $10 by Plaintiff.

         20.      At hearing November 4, 2024, the state court denied Debtor’s request for a

Temporary Restraining Order.

         21.      That same day, Debtor filed the instant case. The only asset in this case appears to

be Property and the only listed creditor appears to be Movant.

         22.      Pursuant to § 362(d)(4), this Court may grant Movant in rem relief from the

automatic stay of an act against the Property if the Court finds that the filing of the petition in this

case "was part of a scheme to delay, hinder, and defraud creditors that involved (a) transfer of all

or part ownership of, or other interest in, such real property without the consent of the secured

creditor or court approval.” In the instant case, Nap Resorts, LLC violated its security agreement

(again) by transferring the Property to Debtor without any notice or consent. It was further done

in bad faith.

         23.      A Court may draw a permissive inference of the intent to hinder, delay, or defraud

creditors from the mere timing and filing of multiple bankruptcy cases. In re: Henderson, 395 B.R.

893, 903 (Bankr. D.S.C. 2008); In re: Johnson, No. 07-33312, 2008 WL 183342 (Bankr. E.D.Va.

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Jan. 18, 2008); In re: Montalvo, 416 B.R. 381 (Bankr. E.D.Ny. 2009); In re: Blair, Nos. 09-76150

& 09-77562, 2009 WL 5203738 (E.D.Ny. Dec. 21, 2009). The instant case was filed hours after

Debtor was denied a temporary restraining order and one day before a schedule foreclosure sale.

          24.      The Bankruptcy Code affords relief only to the "honest but unfortunate debtor",

Mc Oakhill, LLC v. Kite (In re Kite), 2018 Bankr.LEXIS 4075 (Bankr.N.D.Tex.2018).

          25.      In this case, Debtor has already entered bankruptcy with unclean hands. Debtor’s

managing director transferred the Property out of the prior owner entity to this new owner for

fraudulent purposes, i.e. to claim to the state court the new entity had “just purchased” the property

and had no notice of foreclosure, when its managing member clear did know full well about the

foreclosure and had been communicating about it with Movant and Movant’s counsel.

          26.      Now this entity has filed bankruptcy on the Property its managing director

wrongfully transferred to it just days ago. It has filed short-form with mostly blank schedules and

no listing of income.

          27.      Cause exists to terminate the stay IN REM.

    15.         _______ Movant seeks relief based on the Debtor(s)’ failure to provide certificate of
                insurance reflecting insurance coverage as required under the Debtor’s pre-petition
                contracts.
    16.         If applicable: Name of Co-Debtor:
    17.         Based on the foregoing, Movant seeks termination of the automatic stay and the Co-
                Debtor stay, if applicable to allow Movant to foreclose or repossess the Debtor(s)’
                property and seeks to recover its costs and attorneys’ fees in an amount not to exceed
                the amount listed in paragraph 9.
    18.         Movant certifies that prior to filing this Motion an attempt was made to confer with the
                Debtor(s)’ counsel (or with Debtor(s), if pro se) by email November 4, 2024. An
                agreement could not be reached. If requested by Debtor or Debtor’s counsel, a payment
                history in the form attached to this Motion was provided at least two business days
                before this Motion was filed.



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Date: November 5, 2024                Respectfully submitted:


                                      /s/ Michael Weems
                                      Movant’s Counsel Signature
                                      Dominique Varner TBA #00791182/FIN 18805
                                      Direct: 713-590-4218, dvarner@hwa.com;
                                      Michael Weems TBA #24066273
                                      Direct: 713-590-4222, mweems@hwa.com
                                      HUGHES, WATTERS & ASKANASE, L.L.P.
                                      1201 Louisiana, 28th Floor
                                      Houston, Texas 77002
                                      Telephone (713) 590-4200
                                      Fax (713) 590-4230
                                      ATTORNEY FOR MOVANT




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               Certificate of Service and Certificate of Compliance with BLR 4001

       A copy of this motion was served on the persons shown below and on exhibit “1” at the
addresses reflected on that exhibit on 5 day of November, 2024 by electronic mail or by prepaid
United States first class mail. Movant certifies that Movant has complied with Bankruptcy Local
Rule 4001.

Henry West NM Coast, LLC                           Robert C Vilt
1209 Mountain Road Place NW                        5177 Richmond Ave
Albuquerque, NM 87110                              Suite 1230
                                                   Houston, TX 77056

U.S. Trustee
515 Rusk Ave
Suite 3516
Houston, TX 77002




                                            /s/ Michael Weems
                                            HUGHES, WATTERS & ASKANASE, L.L.P.
                                            Dominique Varner TBA #00791182/FIN 18805
                                            Michael Weems     TBA #24066273




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